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AO 442 (Rev. 0tÄ)9) Arrest Wanant



                                           UNITED STATES DISTRICT COURT
                                                                   for the
                                                            District of Columbia

                      United States of America
                                                                             Case. 1:24-cr-00265
                                                                     ) Assigned To Judge Trevor N. McFadden
                        Meghan Messenger,                              Assign. Date •5/30/2024
                              Defendants
                                                                     ) Description: Indictment (B)

                                                         ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(nameofperson to be arrested)       Meghan Messenger
who is accused of an offense or violation based on the following document filed with the court:

      Indictment            O SupersedingIndictment       O Information O SupersedingInformation O Complaint
O ProbationViolationPetition                 O SupervisedRelease ViolationPetition 'Violation Notice O Order of the Court

This offense is briefly described as follows:
 Count 1: 18 U.S.C. S 371 (Conspiracy); Count 2: 18 U.S.C. S 201                   (Bribery)




                                                                               7

          05/30/2024
                                                                                               Issuing officer •ssignature


City and state:           Washington, D.C.                                   G. Michael Harvey, U.S. Magistrate Judge
                                                                                                 Printed name and title


                                                                  Return

          This warrant was received on (date)        5/30               , and the person was arrested on (date)
at (city and state)                                  e


Date: 3¯/Sl                                                                                    Arres g offic s signature
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